Case 1:23-cr-00191-ARR   Document 91   Filed 06/30/25   Page 1 of 10 PageID #: 370
Case
Case1:23-cr-00191-ARR
Case 1:23-cr-00191-ARR
     1:23-cr-00191-ARR          Document
                                Document91
                                Document 69 Filed
                                         68-1 Filed 06/30/25
                                                    02/06/25
                                                Filed 02/05/25 Page
                                                               Page 21of
                                                                 Page 1ofof
                                                                         10
                                                                          9 9PageID
                                                                             PageID
                                                                              PagelD#:
                                                                                     #:#:267
                                                                                          371
                                                                                           258




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------ ----X
 UNITED STATES OF AMERICA                           PRELIMINARY ORDER OF FORFEITURE

             - against -                            23-CR-191 (ARR)

 TAES UNG KIM,
       also known as "Terry,"

                            Defendant.

 ----------------X

                WHEREAS, on or about December 10, 2024, Taesung Kim also known as

 "Terry" (the "defendant"), entered a plea of guilty to the offense charged in Count Three of

 the above-captioned Indictment, charging a violation of -18 U.S.C. § .1956(h); and

                WHEREAS, pursuant to 18 U~S~C.·§ 982(a)(l), the defendant has consented to

 the entry of a forfeiture money judgment in the amount of six million dollars and zero cents

 ($6,000,000.00) (the "Forfeiture Money Judgment"), in addition to the forfeiture of all right,

 title, and interest in the following assets (items (a) through (w), collectively, the "Subject

 Assets"):

                       a.       any and all funds on deposit in Capital One Bank account
                                number 36234740155, held in the name of Terry Kim, and all
                                proceeds traceable thereto ("Capital 0155 Account");

                       b.       any and all funds on deposit in Capital One Bank account
                                number 36234738947, held in the name of Terry Kim and
                                Hyunhee Kim, and all proceeds traceable thereto ("Capital 8947
                                Account");

                       c.       any and all funds on deposit in Capital One Bank account
                                number 36235400483, held in the name of Hyunhee Kim, and
                                all proceeds traceable thereto ("Capital 0483 Account");
Case1:23-cr-00191-ARR
Case 1:23-cr-00191-ARR     Document68-1
                           Document 91
                                    69 Filed
                                        Filed
                                         Filed06/30/25
                                              02/06/25
                                               02/05/25 Page
                                                        Page
                                                         Page322
                                                               of
                                                                ofof
                                                                   10
                                                                   99PageID
                                                                      PageID
                                                                      PagelD#:
                                                                             #:
                                                                             #:268
                                                                                372
                                                                                259




                    d.     any and all funds on deposit in Capital One Bank account
                           number 36235400849, held in the name ofHyunhee Kim, and
                           all proceeds traceable thereto ("Capital 0849 Account");

                    e.     any and all funds on deposit in Bank of Hawaii account number
                           92071456, held in the name of Hana Care Inc., and all proceeds
                           traceable thereto ("Hawaii 1456 Account");

                    f.     any and all funds on deposit in New Millenium Bank account
                           number 8005166, held in the name ofHuikang Pharmacy, and
                           all proceeds traceable thereto ("Millenium 5166 Account").

                    g.     any and all funds on deposit in New Millenium Bank account
                           number 11050008538, held in the name of Huikang Pharmacy,
                           and all proceeds traceable thereto ("Millenium 8538 Account");

                    h.     any and all funds on deposit in New Millenium Bank account
                           number 30050003141, held in the name ofHuikang Pharmacy,
                           and all proceeds traceable thereto ("Millenium 3141 Account");

                    1.     any and all funds on deposit in New Millenium Bank account
                           number 8005171, held in the name of 888 Pharmacy, and all
                           proceeds traceable thereto ("Millenium 5171 Account");

                    J.     any and all funds on deposit in New Millenium Bank account
                           number 11050008546, held in the name of 888 Pharmacy, and
                           all proceeds traceable thereto ("Millenium 8546 Account");

                    k.     any and all funds on deposit in New Millenium Bank account
                           number 30050003158, held in the name of888 Pharmacy, and
                           all proceeds traceable thereto ("Millenium 3158 Account");

                    1.     any and all funds on deposit in New Millenium Bank account
                           number 3050004021, held in the name of Terry Kim, and all
                           proceeds traceable thereto ("Millenium 4021 Account");

                    m.     any and all funds on deposit in JP Morgan Chase account
                           number 573697698, held in the name ofHSJD Management,
                           and all proceeds traceable thereto (the "JPMC 7698 Account");

                    n.     any and all funds on deposit in Citizens Bank account number
                           4028163837, held in the name of NY Elm Pharmacy, and all
                           proceeds traceable thereto (the "Citizens 3837 Account");

                    o.     any and all funds and securities on deposit in Charles Schwab
                           account number 3831-1382, held in the name of Silver Care

 United States v. Taesung Kim, 23-CR-191 (ARR)
 Preliminary Order of Forfeiture                                                    Page2
Case
Case 1:23-cr-00191-ARR
Case1:23-cr-00191-ARR
     1:23-cr-00191-ARR    Document
                          Document 68-1
                          Document91      Filed
                                   69 Filed
                                        Filed   02/05/25 Page
                                              06/30/25
                                              02/06/25     Page
                                                         Page   3ofof
                                                              43of  9 9PageID
                                                                   10   PagelD#:
                                                                       PageID        260
                                                                               #:#:269
                                                                                    373




                           Services LLC, and all proceeds traceable thereto ("Schwab 1382
                           Account");

                    p.     any and all funds on deposit in Fidelity Investments account
                           number 226873122, held in the name of Silver Care Services
                           LLC, and all proceeds traceable thereto ("Fidelity 3122
                           Account");

                    q.     approximately $645,564.00 in United States currency, seized by
                           law enforcement on or about March 31, 2024 from Robinhood
                           account number 641614367, held in the name of Terry Kim, and
                           all proceeds traceable thereto ("Robinhood 4367 Account");

                    r.     approximately $9,103.00 in United States currency, seized by
                           law enforcement on or about March 5, 2024, from Bank of
                           Hawaii account number 0086234319, held in the name of
                           Happy Care Inc., and all proceeds traceable thereto;

                    s.     approximately $3,065.00 in United States currency, seized by
                           law enforcement on or about March 5, 2024, from Bank of
                           Hawaii account number 0080190883, held in the name of Terry
                           Kim and Hyunhee Kim, and all proceeds traceable thereto;

                    t.     approximately $13,012.00 in United States currency, seized by
                           law enforcement on or about March 5, 2024, from Bank of
                           Hawaii account number 6870987155, held in the name of Terry
                           Kim and Hyunhee Kim, and all proceeds traceable thereto;

                    u.     the real property and premises located at 1622 Parker Avenue,
                           Fort Lee, New Jersey 07024, Block 4354, Lot 1, title to which is
                           held in the name of Happy Care Management LLC, together
                           with its appurtenances, improvements, fixtures, easements,
                           furnishings, and attachments thereon, as well as all leases, rents
                           and profits therefrom, and all proceeds traceable thereto;

                    v.     the real property and premises located at 316 North 6th Street,
                           Prospect Park, New Jersey 07508, Block 50, Lot 41, title to
                           which is held in the name of Silver Care Services LLC, together
                           with its appurtenances, improvements, fixtures, easements,
                           furnishings, and attachments thereon, as well as all leases, rents,
                           and profits therefrom, and all proceeds traceable thereto; and

                    w.     the real property and premises located at 183 7 Kalakaua
                           Avenue, Unit 903, Honolulu, Hawaii 96815, Tax Map Key (1)
                           2-6-013-022, C.P.R. No. 0035, title to which is held in the name
                           of Terry Kim and Hyunhee Kim, together with its

 United States v. Taesung Kim, 23-CR-191 (ARR)
 Preliminary Order of Forfeiture                                                       Page3
Case
Case1:23-cr-00191-ARR
Case 1:23-cr-00191-ARR
     1:23-cr-00191-ARR        Document
                              Document91
                              Document 69 Filed
                                       68-1 Filed 06/30/25
                                                  02/06/25
                                              Filed 02/05/25 Page
                                                             Page 54of
                                                               Page 4ofof
                                                                       10
                                                                        9 9PageID
                                                                           PageID
                                                                            PagelD#:
                                                                                   #:#:270
                                                                                        374
                                                                                         261




                              appurtenances, improvements, fixtures, easements, furnishings,
                              and attachments thereon, as well as all leases, rents and profits
                              therefrom, and all proceeds traceable thereto (the "Honolulu
                              Property");

 as any property, real or personal, involved in the defendant's violation of 18 U.S.C.

 § 1956(h), or any property traceable to such property, and/or substitute assets, pursuant to 21

 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(l).

               IT IS HEREBY ORDERED, ADJUDGED AND DECREED, on consent, by

 and between the United States and the defendant as follows:

                1.     Pursuant 18 u.s.n §§ 982(a)(l) and 982(b)(l), and 21 U.S.C.

 § 853(p), the defendant shall forfeit to the United States the full amount of the Forfeiture

 Money Judgment and all right, title, and interest in the Subject Assets. The forfeiture of the

 Subject Assets shall be credited towards the Forfeiture Money Judgment, with the exception

 of the JPMC 7698 Account and the Citizens 3837 Account which will not be credited

 towards the Forfeiture Money Judgment.

               2.      All payments made towards the Forfeiture Money Judgment shall be

 made by a money order, or certified and/or official bank check, payable to the U.S. Marshals

 Service with the criminal docket number noted on the face of the instrument. The defendant

 shall cause said payment(s) to be sent by overnight mail delivery to the Asset Recovery

 Section, United States Attorney's Office, Eastern District of New York, 271-A Cadman

 Plaza East, Brooklyn, New York 11201. The Forfeiture Money Judgment shall be paid in

 full on or before the date of sentencing (the "Due Date").




 United States v. Taesung Kim, 23-CR-191 (ARR)
 Preliminary Order of Forfeiture                                                          Page4
Case
Case1:23-cr-00191-ARR
Case 1:23-cr-00191-ARR
     1:23-cr-00191-ARR        Document
                              Document91
                              Document 69 Filed
                                       68-1 Filed 06/30/25
                                                  02/06/25
                                              Filed 02/05/25 Page
                                                             Page 65of
                                                               Page 5ofof
                                                                       10
                                                                        9 9PageID
                                                                           PageID
                                                                            PagelD#:
                                                                                   #:#:271
                                                                                        375
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               3.      In the event that the above-listed assets (a) through (1), and (o) through

 (v) are sufficient to fully satisfy the Forfeiture Money Judgment, the government will not

 pursue forfeiture of the Honolulu Property.

               4.      The defendant shall remit, or cause to be remitted, the above-listed

 assets (a) through (1), and (o) through (p) to the Federal Bureau oflnvestigation ("FBI").

               5.      Capital One Bank is hereby directed to remit any and all funds on

 deposit in above-listed assets (a) through (d), specifically, the Capital 0155 Account, the

 Capital 8947 Account, the Capital 0483 Account, and the Capital 0849 Account, to the FBI

 pursuant to instructions to be provided by agents of the FBI.

               6.      Bank of Hawaii is hereby directed to remit any and all funds on deposit

 in above-listed asset (e), specifically, the Hawaii 1456 Account, to the FBI pursuant to

 instructions to be provided by agents of the FBI.

               7.      New Millenium Bank is hereby directed to remit any and all funds on

 deposit in above-listed assets (f) through (1), specifically, the Millenium 5166 Account, the

 Millenium 853 8 Account, the Millenium 3141 Account, the Millenium 5171 Account, the

 Millenium 8546 Account, the Millenium 315 8 Account, and the Millenium 4021 Account, to

 the FBI pursuant to instructions to be provided by agents of the FBI.

               8.      JP Morgan Chase Bank is directed to remit any and all funds on deposit

 in above-listed asset (m), specifically, the JPMC 7698 Account, to the FBI pursuant to

 instructions to be provided by agents of the FBI.

               9.      Citizens Bank is hereby directed to remit any and all funds on deposit

 in above-listed asset (n), specifically, the Citizens 3837 Account, to the FBI pursuant to

 instructions to be provided by agents of the FBI.
 United States v. Taesung Kim, 23-CR-191 (ARR)
 Preliminary Order of Forfeiture                                                            Page5
Case
Case1:23-cr-00191-ARR
Case 1:23-cr-00191-ARR
     1:23-cr-00191-ARR         Document
                               Document91
                               Document 69 Filed
                                        68-1 Filed06/30/25
                                              Filed02/06/25
                                                    02/05/25 Page
                                                             Page 76of
                                                               Page 6ofof
                                                                       10
                                                                        9 9PageID
                                                                           PageID
                                                                            PagelD#:
                                                                                   #:
                                                                                    #:272
                                                                                       376
                                                                                        263




                10.     Charles Schwab is hereby directed to remit any and all funds on deposit

 in above-listed asset (o), specifically the Schwab 1382 Account, to the FBI pursuant to

 instructions to be provided by agents of the FBI.

                11.    Fidelity Investments is hereby directed to remit any and all funds on

 deposit in above-listed asset (p), specifically, the Fidelity 3122 Account, to the FBI pursuant

 to instructions to be provided by agents of the FBI.

                12.    Robinhood is hereby directed to remit any and all funds on deposit in

 above-listed asset (q), specifically, the Robinhood 4367 Account, to the FBI pursuant to

 instructions to be provided by agents of the FBI.

                13.    Upon entry of this Preliminary Order of Forfeiture ("Preliminary

 Order"), the United States Attorney General or his designee is authorized to seize the Subject

 Assets, to conduct any proper discovery, in accordance with Fed. R. Crim. P. 32.2(b)(3) and

 (c), and to commence any applicable proceedings to comply with statutes governing third-

 party rights, including giving notice of this Preliminary Order.

                14.    The United States shall publish notice of this Preliminary Order in

 accordance with the custom and practice in this district on the government website

 www.forfeiture.gov, of its intent to dispose of the Subject Assets in such a manner as the

 Attorney General or his designee may direct. The United States may, to the extent

 practicable, provide direct written notice to any person known or alleged to have an interest

 in the Subject Assets as a substitute for published notice as to those persons so notified.

                15.    Any person, other than the defendant, asserting a legal interest in the

 Subject Assets may, within thirty (30) days of the final publication of notice or receipt of

 notice or no later than sixty (60) days after the first day of publication on an official
 United States v. Taesung Kim, 23-CR-191 (ARR)
 Preliminary Order of Forfeiture                                                             Page6
Case
Case1:23-cr-00191-ARR
Case 1:23-cr-00191-ARR
     1:23-cr-00191-ARR           Document
                                 Document91
                                 Document 69 Filed
                                          68-1 Filed 06/30/25
                                                     02/06/25
                                                 Filed 02/05/25 Page
                                                                Page 87of
                                                                  Page 7ofof
                                                                          10
                                                                           9 9PageID
                                                                              PageID
                                                                               PagelD#:
                                                                                      #:#:273
                                                                                           377
                                                                                            264




 government website, whichever is earlier, petition the Court for a hearing without a jury to

 adjudicate the validity of his or her alleged interest in the Subject Assets, and for an

 amendment of the order of forfeiture, pursuant to 21 U.S.C. § 853(n)(6). Any petition filed

 in response to the notice of forfeiture of the Subject Assets must be signed by the petitioner

 under penalty of perjury and shall set forth the nature and extent of the petitioner's right,

 title, or interest in the property, the time and circumstances of the petitioner's acquisition of

 the right, title, or interest in the property, any additional facts supporting the petitioner's

 claim, and the relief sought.

                16.     The defendant shall not file or interpose any claim or petition seeking

 remission or contesting the forfeiture of the Subject Assets or any property against which the

 United States seeks to enforce the Forfeiture Money Judgment in any administrative or

 judicial (civil or criminal) proceeding. The defendant shall fully assist the government in

 effectuating the surrender and forfeiture of the Subject Assets and the payment of the

 Forfeiture Money Judgment to the United States. The defendant shall take whatever steps

 are necessary to ensure that clear title to the Subject Assets passes to the United States,

 including, but not limited to, the execution of any and all documents necessary to effectuate

 the surrender and forfeiture of the Subject Assets to the United States. Further, if any third

 party files a claim to the Subject Assets, the defendant will assist the government in

 defending such claims. If the Subject Assets or Forfeiture Money Judgment, or any portion

 thereof, are not forfeited to the United States, the United States may seek to enforce this

 Preliminary Order against any other assets of the defendant up to the value of the Subject

 Assets, and the outstanding balance of the Forfeiture Money Judgment, pursuant to 21 U.S.C.



 United States v. Taesung Kim, 23-CR-191 (ARR)
 Preliminary Order of Forfeiture                                                               Page7
Case
Case1:23-cr-00191-ARR
     1:23-cr-00191-ARR        Document
                              Document68-1
                                       91
                                       69 Filed
                                           Filed06/30/25
                                            Filed02/06/25
                                                  02/05/25 Page
                                                           Page
                                                            Page98of
                                                                  8ofof
                                                                     10
                                                                      99PageID
                                                                        PageID
                                                                         PagelD#:
                                                                                #:
                                                                                #:274
                                                                                   378
                                                                                   265




 § 853(p), as incorporated by 18 U.S.C. § 982(b)(l). The defendant further agrees that all

 elements of 21 U.S.C. § 853(p) have been satisfied.

                17.    The defendant knowingly and voluntarily waives his right to any

 required notice concerning the forfeiture of the monies and/or properties forfeited hereunder,

 including notice set forth in an indictment or information or administrative notice. In

 addition, the defendant knowingly and voluntarily waives his right, if any, to a jury trial on

 the forfeiture of said monies and/or properties, and waives all constitutional, legal and

 equitable defenses to the forfeiture of said monies and/or properties, including, but not

 limited to, any defenses based on principles of double jeopardy, the Ex Post Facto clause of

 the Constitution, any applicable statute of limitations, venue, or any defense under the Eighth

 Amendment, including a claim of excessive fines.

                18.    Pursuant to Fed. R. Crini. P. 32.2(b)(4)(A) and (B), this Preliminary

 Order shall become final as to the defendant at the time of the defendant's sentencing and

 shall be made part of the defendant's sentence and included in his judgment of conviction. If

 no third party files a timely claim, this Preliminary Order, together with Supplemental Orders

 of Forfeiture, if any, shall become the Final Order of Forfeiture, as provided by Fed. R. Crim.

 P. 32.2(c)(2). At that time, the monies and/or properties forfeited herein shall be forfeited to

 the United States for disposition in accordance with the law.

                19.    The United States alone shall hold title to the monies paid by the

 defendant to satisfy the Forfeiture Money Judgment following the Court's entry of the

 judgment of conviction. The United States alone shall hold title to the Subject Assets

 following the Court's disposition of all third-party interests, or, if none, following the

 expiration of the period provided in 21 U~S.C.· §· 853(n)(2).
 United States v. Taesung Kim, 23-CR-191 (ARR)
 Preliminary Order of Forfeiture                                                              Page 8
 Case1:23-cr-00191-ARR
Case
 Case 1:23-cr-00191-ARR Document
      1:23-cr-00191-ARR  Document91
                         Document 69 Filed
                                  68-1 Filed 02/06/25
                                            06/30/25
                                         Filed           Page
                                               02/05/25 Page 10
                                                          Page9 9ofof9
                                                                    109PageID
                                                                        PagelD#:#:275
                                                                        PageID     379
                                                                                   266




                20.     The forfeiture of the Subject Assets and entry and payment of the

  Forfeiture Money Judgment shall not be considered a payment of a fine, penalty, restitution

  loss amount, or payment of any income taxes that may be due, and shall survive bankruptcy.

                21.     This Preliminary Order shall be binding upon the defendant and the

  successors, administrators, heirs, assigns and transferees of the defendant, and shall survive

  the bankruptcy of any of them.

                22.     This Preliminary Order shall be binding only upon the Courfs "so

  ordering" of the order.

                23.     The Court shall retain jurisdiction over this action to enforce

  compliance with the terms of this Preliminary Order and to amend it as necessary, pursuant

  to Fed. R. Crim. P. 32.2(e).

                24.     The Clerk of the Court is directed to send, by inter-office mail, three (3)

  certified copies of this executed Order to the United States Attorney's Office, Eastern

  District of New York, Attn: Nicole Brown, ProMinds Paralegal, 271-A Cadman Plaza East,

  Brooklyn, New York 11201.

  Dated:   Bro~, New York
           ____.te~fi...____.,.,_t;,_ _ _ , 202s



                                                           /s/(ARR)

                                              HONORABLE A L ~ ~
                                              UNITED S T A T E S ~ ~GE
                                              EASTERN DISTRICT OF NEW YORK




  United States v. Taesung Kim, 23-CR-191 (ARR)
  Preliminary Order of Forfeiture                                                           Page9
